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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA                             CRIMINAL No. 21-MJ-1040-DLC

        v.

 DHAMARI JORDAN

         Defendant


                   GOVERNMENT’S STATUS REPORT OF THE PARTIES

       The government reports that it has been in contact with the Middlesex District Attorney’s

Office (“MDAO”) with respect to the pending case in Cambridge District Court. The MDAO

informed the government that they have moved to revoke the Defendant’s bail and a warrant

issued from that court for the Defendant. Additionally, the government has been informed that a

writ of habeas corpus issued to the Wyatt Detention Center for the Defendant’s appearance in

Cambridge District Court for April 8, 2021. The government is working with the MDAO to

process the habeas corpus request and satisfy the requirements of the United States Marshals

Service in order for the Defendant to be brought into Cambridge District court by video.

       In light of this, the Defendant has agreed to voluntary detention, without prejudice for the

time being. Defense counsel has reviewed this status report and agrees that the information set

forth herein is accurate.

                                                     Respectfully submitted,

                                                     ANDREW E. LELLING
                                                     United States Attorney

                                             By:      /s/ Philip A. Mallard
                                                     PHILIP A. MALLARD
                                                     Assistant United States Attorney
Date: March 8, 2021
